 

@
\N

SEACTSY0O4 NO summondg

~
o

ee
~

=
N

bh
Geo

14

15

16

17

18

19

20

21

22

23

24

 

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 1 of 14

 

ee
Geeta nena)
J

 

 

 

 

——rite
ttm |_MAIL
OCT 23 2019

EN onc dig 9
> Spo7euba 7

 
  

FILE ON DEMAND
The Honorable

[“IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE”

:Gary-Wayne: Alexander,

)  RE391 913391 US rw = CY = 10 1 ” 1 j

Authorized Representative and Attorney- .) = PLAINTIFF’S AMENDED COMPLAINT, AND o Le

In-Fact for GARY WAYNE ALEXANDER  ) PLAINTIFF'S CLAIM TO DEFENDANTS’

) DEMAND FOR DEFENDANT TO SHOW

) OFFER OF OBLIGATION WRITTEN IN
Plaintiff, ) THE :CORRECT-SENTENCE-STRUCTURE-
v. ) COMMUNICATION-PARSE-SYNTAX-
‘INTERNAL-REVENUE-SERVICE, ) GRAMMAR: FOR THE VOIDANCE OF
‘URSULA: GILLIS, AGENT, CFO, and) THE PERJURY AND TO SHOW THE
:STEVE: BAKER, AGENT, and ) LAWS, ORDINANCES, RULES,

‘MARYANN-R: ENCISO, AGENT, and ) STATUTES, REGULATIONS THEY CLAIM

‘YVONNE: OLSON, REVENUE OFFICER, ) AGAINST PLAINTIFFS, WRITTEN IN THE

And :ALL-AGENTS-FOR-THE-INTERNAL-) sCORRECT-SENTENCE-STRUCTURE-
REVENUE-SERVICE, ) COMMUNICATION-PARSE-SYNTAX-
Defendants. ) GRAMMAR: FOR THE VOIDANCE OF THE

) PERJURY; AND
) PLAINTIFF'S CONSTRUCTIVE CLAIM OF

) CONDITIONAL ACCEPTANCE; AND
25
26
27
28
29

30

Case 2:19-cv-01711-JLR Document 1. Filed 10/23/19 Page 2 of 14

) PLAINTIFF'S CLAIM TO INVOKE THE
) CLAYTON ANTITRUST ACT OF 1914 FOR
) THE EVENT THE DEFENDANTS LACK

) PROOF OF CLAIM”]

)

 

[“Plaintiff’s Amended Complaint”]

1. FOR THIS CLAIMANT [“PLAINTIFF’] WITH THE KNOWLEDGE IS WITH THE CLAIM FOR THE JURISDICTION
OF THE DI-STRICT-COURT IN THE TERRITORY OF THE WASHINGTON AT SEATTLE IN THESE UNITY-

STATES OF OUR WORLD.
_FOR THE FILING OF THI MPLAINT WITH THIS SUMMONS IS WITH THIS SUMMONS WITH THIS SAME-

HEA ING AS COMPLAINT. FOR Ti LERK WITH TH KN WLEDGE IS WITH THE FILE-STAMP BY THE

 

TH IMI i Tt J ISIDICTION OF THE COMPLA NT-FILING WITH THE SUMMONS OF THE :CORRECT-

SENTENCE-STRUCTURE-COMMUNICATION-PARSE-SYNTAX-GRAMMAR-PERFORMANCE-CORRECT-
SENTENCE-STRUCTURE-COMMUNICATION-PARSE-SYNTAX-GRAMMAR-LANGUAGE-CLAIMS IN THE T.L.F..
~S. FOR THE FILING WITH THE POSTAL-SERVICE-AUTHORIZATION IS WITH THE REGISTER-MAIL-:
CERTIFICATE WITH THE [REITURN-[REICIEPT. FOR THE NUMBER ON THE REGISTRATION-SEAL IS FOR

HIS REGISTRATION-POSTAL-NUMBER AS THE CASE-NUMBER. FOR THIS CASE OF THE FILING BY THIS
PARTY !S WITH THE POSTAL-SERVICE WITH THE TRANSPORT OF THE POSTAL-REGISTRATION-MAIL BY

THE POST -JUDGE-BANKER. FOR THIS TITLE~18: U.S.C.S.~1342 FOR THE MAIL-F IN THE
| B ET ME DDRESESS FOR THE TORT OF T IM OF THE C N
TITLE~18: U.$.C.S.~1001 AND~1 IN THE TERMS IN THE FOLLOWING:

TITLE~18: U.S.C.S.~1001 &~1002: FOR THE NOUNS IN THE CLAIMS ARE WITH THE USE AS THE
PRONO Vv AND ADJECTIVES FOR THE FICTION AND FRAUD OF THE LANGUAGE FOR THE

WANT, TORT, BEZZLEMENT, RAPE OF THE LANGUAGE, FRAUD BY THE FICTION OF THE LANGUAGE IS
WITH THE FOLLOWING-LAWS:

~1. FOR THE CLAIMANT [“PLAINTIFF’] WITH THE KNOWLEDGE IS WITH THE CLAIM FOR THE DAMAGE BY
THE NEGLECT FOR THE TITLE~42: U.S.C.S.~1986. FOR THE KNOWLEDGE OF THE LAW IN THE TRUTH IS
WITH THE CORRECTION OF THIS BREACH WITH THE OFFICERS OF THE COURT IN THE POSITION OF A
FIDUCIARY WITH THE USE OF THE FICTITIOUS-LANGUAGE. FOR THE TORT OF CLAIMS, RIGHTS AND
PRIVILEGES WITH THE CLOSURE: C.-C.~60-b, FOR THE CLAIMANT /“PLAINTIFF’] OF THE KNOWLEDGE IS
WITH THE LANGUAGE-CLAIMS FOR THE FRAUD WITH THE C.-C.~9-b, FOR THE TITLE-HEREIN AND WITH

TH OF THE Ci RE-CLAUSE OF THE C.-C.~60-b, FOR THE ALLOWANCE BY THE CLAIMANT
INTIFF’7|S FOR THE CORRECTION OF THE WRONG WITH THE GLOBAL-AUTHORITY OF THE MATH-

'D
LANGUAGE IN THE TRUTH FOR THE CORRECTION WITH THE TITLE~18: U.S.C.S.~1001: FOR THE PARTY
WITH THE KNOWLEDGE IS IN ANY MATTER IN THE JURISDICTION OF ANY GROUP OF THESE UNITY-

STATES WITH THE KNOWLEDGE AND WILLFUL-VOLITION BY THE FALSIFICATION, BY THE CONCEALMENT
OR BY THE COVERING-UP BY ANY TRICK, SCHEME OR BY ANY VICE OF THE MATERIAL-FACT, OR BY THE
MAKING OF THE FALSIFICATION-STATEMENT, BY THE FICTITIOUS-STATEMENT, OR BY THE FRAUDULANT-
STATEMENT OR BY THE CLAIM FOR THE FRAUDULANT-WRITING-STATEMENT, OR BY THE MAKING OF ANY
FALSE-WRITINGS OR FOR THE USING OF ANY FALSE-WRITINGS OR BY THE FALSE-DOCUMENTS BY THE
KNOWING THAT THE FALSE-DOCUMENTS ARE FOR THE CONTAINING FOR ANY FALSIFICATION-
STATEMENTS, FOR THE FICTITIOUS-STATEMENTS OR FOR THE FRAUDULANT-STATEMENTS OR FOR THE

TRY WITH HM CA FILE FORA PINE/FEE WITH THIS CONTRACT OR WITH THE PRISON~FIVE YEARS
R BOTH:

 

Wi ITI FORT E FRAUD A AINST THE UNITY-STATES, OR FOR ANY PARTY-GROUP, F
© Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 3 of 14

72 THE POSSESSING OF ANY FALSE, ALTER, FORGE, COUNTERFEIT-WRITING(S), OATH, CLAIM OR

73 =peCc TS FOR THE PURPOSE OF THE CAPTURING-ANOTHER OF THE UNITY-STATES, OR UNITY-

74 ~~‘ STATE'S-GROUP, OFFICER OR PARTIES, FOR ANY SUM OF THE SECURITIES, IS WITH THE

75 ~—«EINE/FEE[$~10,000 WITH THIS CONTRACT-TITLE OR WITH THE PRISON OF THE~FIVE~5-YEARS OR
76 ~=BOTH.

77 -~2, FOR THE CLAIMANT “PLAINTIFF WITH THE KNOWLEDGE IS WITH THE ARTICLE~SEVEN~7: FOR THE

78 = CLAIMANT [“PLAINTIFF’7iS WITH THE DAMAGE BY THE COURT. FOR THIS CLAIM WITH THE TITLE~42:
79 ~=—«U.S.C.S.~1986 FOR THE KNOWLEDGE IS OF THE LAW WITH THE C.U.S.W.F. OF THE PARTY BY THE

80 STATEING OF THE FRAUD: C.C.~9-b, WITH THE C.C.~60-b: FACT-FINDING WITH THE COURT, FOR THE

81 ING OF THE FRAUD WITH THE CIVIL-JUDGE OR CIVIL-AUTHORITY WITH THE CLAIM FOR THE

82 A IM WITH THE IN-STATEMENTS.

83 ~ T K OF TH WITH THE DUTY OF THE FILING OF THE COMP

84 — ORIGINAL -JURISDICTION WITH THE DI-STRICT-COURT OF THE UNITY-STATES OF THE WORLD. FOR THE

85  DI-STRICT-COURT IN ANY STATE IS WITH THE TITLE~18: U.S.C.S.~3240 OF THE NEW-CREATION-STATE OF
86 THE WELL OF THE COURT WITH THAT DUTY-CLAIM WITH THE AUTOGRAPH BY TH K OF THE COU

87 R THIS CONTRACT-CREATION FOR THE PEOPLES USE OF THE COURT FOR THE ARBITRATION OF THI

88 CONTRACT FOR THE CORRECTION OF A WRONG-LANGUAGE-CLAIM. FOR ANY FAILURE OF THE CLERK
89 WITH THE SETTING OF A DATE FOR THE ARBITRATION IN THE COURT OF THE CONTRACT IS WITH THE

90 OBSTRUCTION OF THE JUSTICE AND DUE-PROCESS FOR THE FILING INTO THE COURT OF THE DI-

91 STRICT. FOR THE OBSTRUCTION FOR THE TRANSPORT IS WITH THE MAIL-COMPLAINT-CHARTER-VESSEL
92 INTHE JURISDICTION THAT THE CHARTER-VESSEL-COMPLAINT IS FOR THE ADDRESS OF THE

93 TRANSPORT. FOR THE CLERK WITH THIS DUTY IS FOR THE APPOINTMENT OF A JUDGE WHEN NO JUDGE

94 —ISWITH THE CLAIM OF THIS CONTRACT IN THE COURT OF THE D!-STRICT WITH THE OATH IN THE TRUTH

95 ASANOUNIN THIS TRUTH-JURISDICTION.

96 ~4. FOR THE POSTAL-SERVICE WITH THE DUTY IS WITH THE TRANSPORT OF THE MAIL WITH THE BILL OF

97. TH DING.

98  ~5. WHEN THE CLERK WITH THE ADMINISTATION-PROCESS IS WITH THE CLAIM OF THE JUDGE IN THE

99 TRUTH WITH AN OATH IN THE TRUTH-LANGUAGE-CLAIM IN THE DI-STRICT. FOR THE DUTY OF THE PARTY
100 ISWITH THE KNOWLEDGE FOR THE CLAIM AS THE JUDGE FOR THIS CLAIM AS THE JUDGE IN THE TRUTH
101 = WITHTHE DUTY FOR THE CORRECTION OF THE WRONGS WITH THE FORENSIC-EVIDENCE IN THESE
102. _- UNITY-STATES OF OUR WORLD-COURT FOR THIS CHARTER-VESSEL-CLAIM-CASE IN THE TRUTH,
103 ~6. FOR THE JUDGE WITH THE KNOWLEDGE OF THE TRUTH IS WITH THE CLAIM FOR THE JURISDICTION
104 BY THE PLEADING OF THE FACTS. FOR THE JURISDICTION OF THIS CLAIM IS WITH THE ORDER BY THE
105 COURT WITH THE FAILURE BY THE CALLING OF THE CASE WITHIN THE~45-DAYS OF THE TRUST-
106 ER-VESSEL-CASE-FILING OR F HE VACATION OF THE CLAIM WITH THE TITLE~28: U.S.C.S.~1441
107. AND VACATION BY THE FILING WITH THE CLAIM FOR AN ACTION OR DAMAGE BY THE COURT AN IN
108 8TH RISDICTION OF THE MILITARY FOR THE COLLAPS OF THE CIVIL-AUTHORITIES WITH THE CIVIL-

109 CLAIM~26-e FOR THE CLAIMING OF A WRONG FOR THE FAILURE OF THE UNITY-STATES OF OUR WORLD
110 FORTHE CLAIM OF THE GRIEVANCE. FOR THIS FICTION-COURT AGAINST THE PEOPLE IS WITH THE

111 = FICTION-LANGUAGE FOR THE CAPTURE AND HARVEST OF THE PEOPLE BY THE FICTION. FOR THE WE,
112 QE THE PEOPLE ARE WITH THE MARITIME-LAW AND WITH THE CLAIM/RIGHT OF THE CONTRACT IN THE

113° TRUTH.
114 ABBREVIATIONS:

115 C.C.= FOR THE CIVIL-CLAIM

116 §=U.S.C. = UNITY-STATES-CLAIMS

117s: U.S.W. = FOR THESE UNITY-STATES OF OUR WORLD
118 =F. = FOR THIS TRUTH-LANGUAGE-FORMAT

119 .9.C.S. = UNITY-STATES-CLAIMS: SECTION
120 TY-STATES = FOR THE CORPORATION OF ANY TWO OR MORE-PARTIES IS BY THIS

121 CONTRACT/CONSTITUTION
122 C.U.S.W.F. = FOR THE CONSTITUTION OF THESE UNITY-STATES WITH OUR WORLD-FLAG.

123

124 Claimant's /[“Plaintiff’s] Demand for Respondent /“Defendents”] to Show Offer of Obligation Written in the :Correct-
125 Sentence-Structure-Communication-Parse-Syntax-Grammar: for the Voidance of the Perjury, and to Show the Laws,

 
126
127

128
129
130
131
132
133
134
135
136
137
138

139 |

140
141
142
143
144
145
146
147
148
149
150
151
152
153
154
155

156
157

158
159
160
161
162
163

164
165

166
167
168

169
170

 

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 4 of 14

Ordinances, Rules, Statutes, Regulations Defendants claim against Plaintiffs, Written in the :Correct-Sentence-Structure-
Communication-Parse-Syntax-Grammar: for the Voidance of the Perjury”]
~0. For the CLAIMANT'S [“Plaintiff's"] -KNOWLEDGE of the FACTS ARE with the CLOSURE-
DAMAGE-CLAIMS of this TITLE-~42: D.-C.-C.-S.-~1986: KNOWLEDGE of the SYNTAX-STYLES-
WRONGS &: STOPPING &: CORRECTING with the “/Defendants”] VASSALEES’-FRAUDULENT-
PARSE-SYNTAX-GRAMMAR-THREATING-SYNTAX-STYLES of the FINANCIAL-PENALTY-THREAT
&: PUBLIC-STANDING-LOSS as a THREATS with the VASSALEES’-FOREIGN-FICTION-
LANGUAGE-PLEADINGS by the ‘FEDERAL-JUDICIAL-RULES of the FEDERAL-COURT-
PROCEDURES’ & by these VASSALEES’-DAMAGING-CAUSES: TITLE-~28: D.-C.-C.-S.-~1359,:
COLLUSION or: THREAT with the BLOCKING-C.-S.-S.-C.-P.-S.-G.-P.-DOCUMENTS of the
WRITTEN-EVIDENCE of the FICTIONAL-LANGUAGE: TITLE-~18: D.-C.-C.-S.-~1001, &: TITLE-~15:
D.-C.-C.-S.-~1692-~e: FRAUD &: MISLEADING-STATEMENTS, &: PENALTY-FINES: TITLE-~15: C.-
$.-C.-CHAPTER-~2B, SECTION-~78~FF,(:$25-MILLION) of the MAIL-FRAUD: TITLE-~18: D.-C.-C.-
$.-~1341,: MAIL-FRAUD-PROPERTY/EQUITY-TORT by the FICTION-COURT-JUDGE &:
ATTORNEYS'-ACTING-TOGETHER with the TITLE-~18: D.-C.-C.-S.-~242: STOPPING &:
BLOCKING-C.-S.-S.-C.-P.-S.-G.-P.-CONTRACT by the COLORING-LAWS, FACTS, RULES, CODES
&: VOLITION with an ATTORNEY’S-CONSPIRACY-CIVIL: TITLE-~42: D.-C.-C.-S.-~1985-~1, in this
DRY-DOCK-VESSEL-PAPER &: FILE-STAMP-EVIDENCE-SYNTAX-KEY-CODE with the TITLE-~42:
D.-C.-C.-S.-~1985-~2: STOPPING &: BLOCKING, CHANGING, PERJURY, FALSE-STATEMENTS,
CHEATING, STEALING by the VOID-SYNTAX-GRAMMAR-TITLE-~18: D.-C.-C.-S.-~1001,:
FRAUDULENT-PARSE-SYNTAX-GRAMMAR-VASSALEES’-WRITING-EVIDENCE, &: TITLE-~42: D-
:C.-C.-S.-~1983-~3, BLOCKING-PARTICIPATION of the C.-S.-S.-C.-P.-S.-G.-P.-WITNESS or:
EVIDENCE by the TITLE-~18: D.-C.-C.-S.-~1001: FRAUDULENT-PARSE-SYNTAX-GRAMMAR-
COMMUNICATIONS-CAUSE: TITLE-~18: D.-C.-C.-S,-~1961: RACKETEERING-DAMAGE &: CRIME-
PARTICIPATION-TITLE-~18: D.-C.-C.-S.-~3, with the CRIMINAL-VIOLATIONS &: ‘VOLITION of the
WILL’ with the DOCUMENT-CONTRACT-FEDERAL-POSTAL-$1.-STAMP-COURT’S-VENUE against
the FRAUDULENT-SYNTAX-GRAMMAR-WRITING-EVIDENCE-BONDED with the CLAIMANT
[“PLAINTIFF"]S’-C.-S,-S.-C.-P.-S.-G.-CONTRACT against the VASSALEE’S TITLE-~15: D.-C.-C.-S.-
~1692-~e,: FRAUD &: MISLEADING-STATEMENTS-STYLES-SYNTAX-GRAMMAR. [Plaintiff demands that
Defendants’ Offer of obligation be presented in the :Correct-Sentence-Structure-Communication-Parse-Syntax-Grammar. for the voidance of

the perjury” and “Plaintiff demands that Defendants’ Produce the law, statute, ordinance, the Defendants’ claim the Plaintiff has violated written
in the :Correct-Sentence-Structure-Communication-Parse-Syntax-Grammar. for the voidance of the perjury’] Exhibit “A”

~1. For the PAYMENT of CLAIMANT'S [“Piaintiffs"] TAXES ARE with the CLAIM of the
CORRECT-SENTENCE-STRUCTURE-COMMUNICATION-PARSE-SYNTAX-GRAMMAR-
PERFORMANCE with the LAWS, COURTS, RULES, WORD-CLOSURE-TERMS, [DE]FINITIONS &:
CODES by the UNITED STATES of an AMERICA-CORPORATION, &: DEPARTMENT OF THE

TREASURY. [Plaintiff would like fo pay ALL taxes owed fo the INTERNAL REVENUE SERVICE with the requirement that the Offer of
Obligation is written and presented in the Correct-Sentence-Structure-Parse-Syntax-Grammar for the voidance of perjury’]

[identification Translation:
D,-C.-C.-S. = Document-Contract-Claims-Section; and

1. C.-S.-S.-C.-P.-S.-G, = Correct-Sentence-Structure-Communication-Parse-
Syntax-Grammar;

2. C.-S.-S.-C.-P.-§.-G.-P. = Correct-Sentence-Structure-Communication-Parse-
Syntax-Grammar- Performance]
171

172
173

174
175
176
177
178
179
180
181
182

183
184
185

186

187
188

189
190
191
192

193
194
195
196

197
198
199
200
201
202
203
204

205
206
207
208

209
210
211
212
213
214
215
216
217
218
219
220

221
222
223
224
225

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 5 of 14

“Plaintiff's structive Claim of Condition tance”,

~0. Honor and Consent is with the Claim and Order for Defendant's Sworn Testimony, Autographed by a Real Party,
in Affidavit format, with Full Commercial Liability to the CLAIMANT’S [Plaintiffs] Conditions Numbered 1 through 45.

{“Plaintiff is in receipt of Defendants’ Offer of Obligation regarding INTERNAL REVENUE SERVICE Notice 3164 B and 3552
and 24394, Tax Year 2015, Notice Date June 24, 2019, Social Security Number @QQEEMMDin the Alleged Amount of Seven-

Hundred Eighty Seven-Thousand Three-Hundred Eighty Nine-DOLLARS and Eighty CENTS ($787,389.80US). Plaintiff is
accepting Defendants’ offer of

obligation upon the condition that Defendants’ provide the following proof to support Defendants’ claim:

1. Provide the verified proof and full, whole, and complete accounting, via sworn affidavit, under penalty of perjury, with
full and complete commercial liability, that supports Defendants’ position that a :real-party-in-interest: among the

Defendants’ who is injured, wronged, harmed, or suffered a loss due by the Plaintiff: and

2. Provide the proof that supports Defendants’ did NOT agree to a Notice of Tender for Setoff and Statement of Account

and Affidavit of ZERO BALANCE on subject account, dated December 10, 2018; and

3. Provide the proof that supports Defendants’ did NOT receive Notice of Default and

Consent to Judgment of ZERO BALANCE dated January 20, 2019; and

4. Provide the proof that supports Defendants’ position that Instruments of Tender in the
amount of One-million Two-hundred Fifty-thousand DOLLARS and Zero CENTS (8 1,250,000.00US) were NOT
received by Tender Agent for the Internal Revenue Service via United States Postal Service Registered Mail

Article Number RE 324 599 865 US on October 1, 2018 at 11:22 a.m.; and

5. Provide the proof that supports Defendants’ are NOT subject to the Tender of Payment Laws, which states whether

Tender is accepted or rejected, there is discharge of debt; and

6. Provide the proof that supports Defendants’ position that the instruments of tender are
NOT in accordance with the terms of the contract agreement with INTERNAL
REVENUE SERVICE regarding INTERNAL REVENUE SERVICE Notices 3164 B and 3552 and 2939A, Tax
Year 2015, Notice Dates October 12, 2016 and October 6, 2016 and October 7, 2016 and August 8, 2019, Social
Security Nunbe nia in the Alleged Amount of Seven Hundred Eighty Seven-Thousand Three-Hundred Eighty
Nine-DOLLARS and Eighty CENTS (8787,389.80US); and

7. Provide the proof that supports your position that regarding INTERNAL REVENUE
SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Dates October 12, 2016 and October 6, 2016

and October 7, 2016 and August 8, 2019, Social Security Number XXX-XX-XXXX in the Alleged Amount of Seven-
226
227
228
229
230
231
232

233
234
_ 235
236
237
238
239
240
241
242
243
244
245
246
247
248
249
250

251
252
253
254

255
256
257
258

259
260
261
262
263
264
265
266
267
268

269
270
271
272

273
274
275
276
277
278

279
280
281
282
283
284

10.

11.

12.

13.

14.

Case 2:19-cv-01711-JLR Document1 Filed 10/23/19 Page 6 of 14

Hundred Eighty Seven-Thousand Three-Hundred Eighty Nine-DOLLARS and Eighty CENTS (8787,389.80US) by
contract, are unable to accept tender from the Plaintiff and that the Plaintiff is an unauthorized party under law to

settle this alleged debt; and

Provide the proof that supports Defendants’ position that the instruments of tender are merely an attempt to

pay of regarding INTERNAL REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Dates
October 12, 2016 and October 6, 2016 and October 7, 2016 and August 8, 2019, Social Security Number 535-70-
689]in in the Alleged Amount of Seven-hundred Sixty-Thousand Two-hundred Sixty-four DOLLARS and Eighty CENTS
CENTS (8$787,389.80US) and actuaily do not pay or otherwise affect the alleged obligation for regarding

INTERNAL REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Dates October 12, 2016
and October 6, 2016 and October 7, 2016 and August 8, 2019, Social Security Number @@@MMMEMBPin in the Alleged
Amount of Seven-hundred Sixty-Thousand Two-hundred Sixty-four DOLLARS and Eighty CENTS

($760,264,059.80US); and

Provide the proof that supports Defendants’ position that the instruments of tender are
Not Negotiable; and
Provide the proof that supports Defendants’ position that the instruments tendered do not,

in fact, provide defense of amounts allegedly owed by Plaintiff: and

Provide the proof that supports Defendants’ position that the instruments of tender do not

affect INTERNAL REVENUE SERVICE’s Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice

Date June 24, 2019, Social Security Number wna the Alleged Amount of

Seven Hundred Eighty Seven-Thousand Three-Hundred Eighty Nine-DOLLARS and Eighty CENTS ($787,389.80US)
defense in the dishonor of the presentment of tender; and

Provide the proof that supports Defendants’ position that the instruments of tender will

not eliminate indebtedness; and

Provide the proof that supports Defendants’ position that the instruments of tender will

result in default and a judgment of garnishment for an account which has been settled,

setoff and discharged; and

Provide the proof that the instruments of tender are NOT in accordance and compliance
with UCC 3-104, Title IV, See 401 (FRA); USC Title 12; USC Title 28, §§1631, 3002;

and the Foreign Sovereign Immunity Act under necessity; and
285
286
287
288

289
290
291
292
293
294

295
296
297
298
299
300

301
302
303
304
305
306
307
308
309
310

311
312
313
314
315
316
317
318

319
320
321
322
323
324
325
326
327
328
329

330 .

331
332
333
334
335
336
337
338

339
340
341
342

IS,

16.

17.

18.

19.

20.

él,

22.

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 7 of 14

Provide the proof that the instruments of tender are NOT in full accord. with HJR-192

(June 5, 1933), Public Law 73-10, UCC 3-419, 1-104 and 10-104; and

Provide the proof that pursuant to ‘State and Federal’ TENDER OF PAYMENT statutes;
that Defendants’ may refuse payment of any property, money, or instrument, while NOT
discharging the debt; and

Provide the proof that the Treasury of The United States Department of Internal Revenue
has returned the instruments of TENDER and that they are not holding or withholding an

instrument valued at One-million Two-hundred Fifty-thousand DOLLARS and Zero CENTS ($1,250,000.00US); and

Provide the proof that the U.S. Bankruptcy is NOT verified in Senate Report No. 93-549
93” Congress, 1° Session (1973), “Summary of Emergency Power Statutes,” Executive
Orders 6073, 6102, 6111 and by Executive Order 6260 on March 9, 1933, under the
“Trading With The Enemy Act (Sixty-Fifth Congress, Session I, Chapters 105, 106,

October 6, 1917), and as further codified at 12 U.S.C.A. 95(a) and (b) as amended; and

Provide the proof that the Plaintiff has not been estopped from using or that he has access
to ‘lawful constitutional money of exchange’ (See U.S. Constitution — Art. I § X) to
PAY DEBTS AT LAW’, and pursuant to HJIR-192, can only discharge fines, fees, debts,

and. judgments ‘dollar for dollar’ via commercial paper or upon Affiant's exemption; and

Provide the proof that :Gary-Wayne: Alexander:, a Private Citizen, a living man and
Authorized Agent and Sole Beneficiary of the trust known as GARY WAYNE

ALEXANDER Trust is NOT “Holder in Due Course” of the Preferred Stock of the

Jederal Corporation (United States — February 21, 1871; 16 Stat L 419): and holds a prior,
Superior, security interest and claim on the alleged DEBTOR and Debtor's property;

and

Provide the proof that Defendants’ provided Plaintiff oaths of all parties, title, and
Statutes, written in the Correct-Sentence-Structure-Communication-Parse-Syntax-
Grammar-Performance pursuant 18 USC 1001 and 1002, and 18 USC 1341 and 1342 for

the voidance of the perjury; and

Provide Defendants’ evidence that ALL law is based upon :adverb-verb:, descriptive or

rhetorical verses factual, and that Defendants’ are NOT using deceptive practices for the
343
344
345
346

347
348
349
350

351
352
353
354
355
356
357
358

359
360
361
362

363
364
365
366
367
368

369
370
371
372
373
374
375
376
377
378
379
380

381
382
383
384
385
386

387
388
389
390
391
392

393
394
395
396
397
398

399
400

23.

24,

25.

26.

27.

28.

29.

30.

31.

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 8 of 14

voidance of perjury, while being paid is not a violation of 18 USC 1001 and 1002, and 18

USC 1341 and 1342; and

Provide Defendants’ evidence that Defendants’ are NOT using the NOM DE GURERRE

names pursuant to 18 USC 1001 and 1002, and 18 USC 1341 and 1342; and

Provide Defendants’ evidence that Defendants’ are NOT using false advertising,
fictitious use of language, pertaining to Title 18, 1001 Fraud Act by the use of closed
brackets and vectors violating the four corner rules, pursuant to Black’s Law Dictionary

5" ed, Page 591; and

Provide Defendants’ evidence that Defendants’ are NOT using fraudulent conveyance of

language to force the Plaintiff to pay funds; and

Provide Defendants’ evidence with a Justice of the Peace under penalty of perjury that

Defendants’ are NOT using Fictitious Conveyance of Language as a device for unjust

gain against the Plaintiff; and

Provide Defendants’ evidence as to what specie Defendants’ will accept or lawfully

require as payment of the alleged debt known as INTERNAL REVENUE SERVICE

Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Date June 24, 2019, Social Security Number 535-
70-6891 in the Alleged Amount of and pursuant to 18 USC § 8 and then 31 USC §

3124 and Attachment A, Defendants’ are NOT forcing Plaintiff to break the law if

Defendants’ are demanding Federal Reserve Notes: and

Provide Defendants’ evidence as to which dictionary or styles manual Defendants’ are
writing from in their Offers of Obligation, whereby Plaintiff can easily refer to and
understand the referenced Offers of Obligation; and

Provide Defendants’ evidence that Defendants’ have a copy-right release from the Post-
Master-General to copy Post-Master-General's 1" class-postage stamps and/or 2” class-
postage stamps and/or metered stamps; and

Provide Defendants’ evidence that Defendants’ are NOT using false conveyance of
language and violating The Deceptive Trade Practices Act for ill-gotten-gain against the
Plaintiff; and

Provide Defendants’ evidence that Defendants’ are NOT violating The Americans With

 
401
402
403
404
405
406
407
408

409
410
411
412
413
414

415
416
417
418
419
420

421
422
423
424

425
426
427
428
429
430

431
432
433
434

435
436
437
438
439
440
441
442
443
444

445
446
447
448
449
450
451
452
453
454
455
456
457
458

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 9 of 14

31. Provide Defendants’ evidence that Defendants’ are NOT violating The Americans With
Disabilities Act and the Antitrust with the Federal Trade Commission and the Fair Debt
Collection Practices Act and 18 USC 1001 and 18 USC 1341 and 18 USC 1342 for

Defendants’ profit without the expressed written authorization of the Plaintiff: and

32. Provide Defendants’ evidence that Defendants’ provided Plaintiff an interpreter to the
conveyance of language, Correct-Sentence-Structure-Communication-Parse-Syntax-

Grammar, pursuant to the 1964 Discrimination Act; and

33. Provide Defendants’ evidence of all parties receiving this Constructive Claim of
Conditional Acceptance of Defendants’ full given names using no abbreviations nor all capitalized names nor

Jictitious titles; and

34. Provide Defendants’ evidence of Defendants’ qualifications and/or official capacities

along with letters of appointments and/or letters of delegation of authorities; and

35. Provide Defendants' evidence and proof of Defendants’ mandate or authority and bond
and actual state license and not merely a BAR Union Membership Card as an attorney;

and

36. Provide Defendants’ evidence of Defendants’ Oaths of Office true copies along with the

proper autographs whereby the Defendants’ are accepting full commercial liability; and

37. Provide Defendants’ evidence of Defendants’ Anti Bribery statement as directed by the
Foreign Corrupt Practices Act — Aniti-Bribery Provisions, as was required when
Defendants’ took their oath, and require Defendants’ foreign registration statement which
must be on file, as all those who take oaths become foreign at the time of the oath, per

Title 22 USC Code 612; and

38. Provide Defendants’ evidence of the correction of syntax-ed documentation from all
parties participating in as INTERNAL REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015,
Notice Dates October 12, 2016 and October 6, 2016 and October 7, 2016 and August 8, 2019, Social Security Number
ana. the Alleged Amount of Seven- Hundred Eighty Seven-Thousand Three-Hundred Eighty Nine-DOLLARS
and Eighty CENTS ($787,389.80US) and the bonds Defendants’ provided, including definitions and sources
of words used, to protect and indemnify Plaintiff in the event of a harm by those parties

and their sworn evidence that Defendants’ are acting within their official capacity,

 
459
460
461
462

463
464
465
466
467
468
469
470
471
472

473
474
475
476
477
478
479
480
481
482
483
484
485
486
487
488

489
490
491
492
493
494

495
496
497
498
499
500
501
502
503
504
505
506
507
508
509
510
511
512
513
514
515
516
517

39.

40.

41.

42.

43.

Case 2:19-cv-01711-JLR Document1 Filed 10/23/19 Page 10 of 14

including personal addresses of those parties who are found to be acting outside their

authority plus their sworn evidence that they are acting within their official; and

Provide Defendants’ evidence by copies of all tax forms for all named Defendants’

resulting from profits derived from the securities generated for as INTERNAL

REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Date June 24, 2019, Social
Security Number QED in the Alleged Amount of Seven-hundred Sixty-thousand Two-hundred Sixty-four

DOLLARS and Eighty CENTS ($787,389.80US) to prevent suspicious activity of unreported tax liabilities; and

Defendants’ provide evidence that the alleged obligation/claim known as INTERNAL

REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Date June 24, 2019, Social
Security Number $QMEMBOP in the Alleged Amount of Seven-hundred Sixty-thousand Two-hundred Sixty-four
DOLLARS and Eighty CENTS (8787,389.80US) does not constitute a false and

deceptive and misleading representation in connection with the collection of any debt

including the faise representation of the character or legal status of any debt and further

makes a threat to take any action that cannot legal be taken a deceptive practice

congruent with 15 U.S.C. § 1692 (e); and

Defendants’ provide evidence that there does not already exist a private agreement
between the parties of a settlement with an unrebutted affidavit of zero balance thus

making any further action vexatious litigation and a waste of taxpayer dollars; and

Defendants’ provide evidence that any and all named Defendants’ have a letter of
delegation of authority to attack the trust known as The GARY WAYNE

ALEXANDER Trust, which is duly recorded in the public record; and

Defendants’ provide evidence that incorrect Sentence-Structure-Parse-Syntax-Grammar

submitted into INTERNAL REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice
Date June 24, 2019, Social Security Number QED in the Alleged Amount of

Seven- Hundred Eighty Seven-Thousand Three-Hundred Eighty Nine-DOLLARS and Eighty CENTS
(3787,388.80US) by Defendants’ and their Agents and/or their attorneys, in their

Offer of Obligation is NOT void of perjury and is NOT a valid claim.

Plaintiff requires proof of the above 44 listed items, signed by a real party representing the
Defendants, in an affidavit format, swearing under penalty of perjury, with full and unlimited

commercial liability within 14 days of receipt of service. Any response short of a real party

 
518
519
520
521
522
523
524
525
526
527
528
529
530
531
532
533
534
535
536
537
538
539
540
541
542
543
544
545
546

547

548
549
550

551
552
553

554
555
556
957
558
559
560
561
562
563
564
565
566
567
268
569
570

Case 2:19-cv-01711-JLR Document 1 Filed 10/23/19 Page 11 of 14

representing the Defendants, in an affidavit format, swearing under penalty of perjury shall be

deemed an ‘insufficient response’ and will be marked as such, and constitutes agreement by

the Defendants, and their Agents, Successors, and/or Assigns, as evidence that Defendants do

not have a valid claim against Plaintiff regarding INTERNAL REVENUE SERVICE Notice

3164 B and 3552 and 24394, Tax Year 2015, Notice Date June 24, 2019, Social Security Number QED in the

Alleged Amount of Seven- Hundred Eighty Seven-Thousand Three-Hundred Eighty Nine-DOLLARS and Eighty CENTS
($787,389.80US) and that the Defendants waive ALL their rights, titles, and interests in their claim known as INTERNAL
REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Dates October 12, 2016 and October 6, 2016
and October 7, 2016 and August 8, 2019, Social Security Number SMEEBERGIn in the Alleged Amount of Seven-hundred Sixty-
thousand Two-hundred Sixty-four DOLLARS and Eighty CENTS ($760,264,059.80US) and Defendants confession that offer of
obligation known as INTERNAL REVENUE SERVICE Notice 3164 B and 3552 and 2439A, Tax Year 2015, Notice Dates October
12, 2016 and October 6, 2016 and October 7, 2016 and August 8, 2019, Social Security Number @EEMMBBIn in the Alleged
Amount of Seven-hundred Sixty-Thousand Two-hundred Sixty-four DOLLARS and Eighty CENTS

($760,264,059.80US) has a current and permanent balance of Zero DOLLARS and Zero CENTS ($0.00US)”].

“Plaintiff's Claim to Invoke the Clayton A Act of 1914 for the Event the R nt Lack Proof of Claim”

~0Q For the fraudulent language offer of obligation by the Defendants against CLAIMANT
[Plaintiff] is with the Payment of Three-million Forty-one Thousand Fifty-nine DOLLARS and
Twenty CENTS ($3,149,559.20US) :Clayton-Antitrust-Act-of-1914-Claim.

[Plaintiff respectfully notices this honorable court that criminal activity under Title 42, 1988
states responsibility for ALL fees in this case by the perpetrator of that activity. The Defendants
demanded payment of Seven-hundred Sixty-Thousand Two-hundred Sixty-four DOLLARS and Eighty CENTS

(8760,264.80US) by United States Postal Service on October 12, 2016 and October 6, 2016 and October 7, 2016 and August 8,

2019and on October 31, 2016 and it appears that all of the Defendants’ Lawyers, and their Agents, are co-conspirators, along
with the ‘real party’

acting as STEVE BAKER and MARYANN R ENCISO and YVONNE OLSON, Agents for the INTERNAL REVENUE SERVICE, as
they are working together and getting paid on this case for the collection of INTERNAL REVENUE SERVICE Notices 3164 B
and 3552 and 2439A, Tax Year 2015, Notice Dates October 12, 2016 and October 6, 2016 and October 7 2016 and August 8,
2019, Social Security Number QED, who have demanded Plaintiff to pay a total of Seven-hundred Sixty-Thousand Two-
hundred Sixty-four DOLLARS and Eighty CENTS ($787,389.80US) in Fees and Fines without producing the proper evidence

that such an amount is owed. The Plaintiff moves this Honorable Court,
that in the event the Defendants do not produce And provide the Proof of Claim in the Forteen (14) listed conditions required
571
572

573
574
575

576

577
578
579
580
581
582

583
584

585
586

587

588
589

590
591

592
593

594

595

 

Case 2:19-cv-01711-JLR Document1 Filed 10/23/19 Page 12 of 14

DOLLARS and Twenty CENTS (33,149,559.20US), because without the proof of claim, these Defendants And their agents are

confessing to criminal activity against the Plaintiff”).

RESPECTFULLY SUBMITTED,

+ Gey Wine: 4Ebe AAR 07

:Gary-Wayne: Alexander:

In Propria Persona

[Certificate of Service”]

ocr.

[“I hereby certify that in this___"7. /___day of September, 2019, I filed the foregoing Plaintiff's Amended Complaint and
Plaintiff's Demand for the Offer of Obligation and Laws written in the :Correct-Sentence-Structure-Communication-Parse-
Syntax-Grammar and Plaintiff’s Constructive Claim of Conditional Acceptance and Plaintiffs Claim to Invoke the Clayton
Aet with the Clerk of the UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF WASHINGTON AT
SEATTLE. I further certify that on the same date, I caused a true and complete copy of the foregoing documents to be served by
first-class mail, postage prepaid, and by Certified Mail, to the following persons and/or entities at the following addresses:

[“URSULLA GILLIS, CHIEF FINANCIAL OFFICER AND AGENT FOR INTERNAL REVENUE SER VICE In care of 1111
CONSTITUTION AVENUE, ROOM 5226 WASHINGTON D.C. 20224”] Certified Mail Number: 7019 0140 0000 0299 7784

[ “STEVE BAKER, REVENUE OFFICER, INTERNAL REVENUE SERVICE In care of 1201 PACIFIC AVENUE, SUITE 550
TACOMA, WASHINGTON 98402”] Certified Mail Number: 7019 0140 0000 0299 7777

[ “MARY R ENCISO, TERRITORY MANAGER, INTERNAL REVENUE SERVICE In care of 1201 PACIFIC AVENUE, SUITE
550 TACOMA, WASHINGTON 98402"] Certified Mail Number: 7017 2620 0001 1198 9295

[“YVONNE OLSON, REVENUE OFFICER, INTERNAL REVENUE SERVICE In care of 1788 RIO GRANDE STREET, FIVE
GATEWAY BLDG, M/S 5446 SALT LAKE CITY, UT 84101 Certified Mail Number: 7017 2620 0001 1198 9271
      

rd CE ENGL AOE a

[AT avesziw IB USC /00/- Aan sor, AND 18

See RAI
YLC IBA7 ET

 

 

    

 

 

 

 

yeNe erlont dt the Tren
v5 yf eran oft e Treasury Notice Vc CP22A
ire Interfal ue Service Tax YearxVC 7 7 2015
IRS one “A 2 OT ; ARE NOT FACT Se PRO: NOM EWO Notice date = 2 »/ October 31, 2016
INTERNAL =) 2NO, TER EARTH NAL? CONTRACT Social Security number 2394
2 Ae CONTRACT REV ENVE -REDNO INPAST T/ME _ To contact us 1-800-829-0922
WEMUE = NO ContRAET SERVICE OK NOVEL AY? Your caller D 711196
007933.555968.131668.29925 1 av 0.399 a6g WO COM TRACT Page 1of 5 50H

Poe eae delay Alle eed
"E use CoRRECT WATE fiw a thn tRACr VbU CAN WOT USE AOovErRBS
Ey C. vepsus WOM DE bvRE pee: ) Te Aoyectives, CEA VLE VRBEBL WHEN yoy

GARY W ALEXANDER A MOdIFKY A FACT 17 BELOAES An OPINWA
2222 W LAKE SAMMAMISH PKWY NE THIS DOLVIMEAT 7S NOTHING (10 ya E-
REDMOND WA 98052-6008 saw PRéeMtuN!l AND OPININAE 3 7

007933

 

NO PROOK NO FACT, OPM ON
NO TR «LS, MO HEARINGS
vioeaTiow ip use 1347, Ivete 100/kyp leoz]

    
   

Changes to your 2015 Form 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount due:\$787,389.80
Based on the information you provided, we Billing Summary
changed your 2015 Form 1040 to correct your:
® account information. Account balance before this change $ 633,554.00
We changed the civil penalty amount that we Inctease in accutacy-related penalty on underpayments 126,710.80
previously charged. penalty
Increase in failure-to-file penalty 10,306.00
As a result, you owe $72730980/ increase in failure-to-pay penalty 3,167.77
10 UAVE A FACT eve Masr HAVE \ncrease in interest 8,635.48
A Pott Tew - Fe Mie o7 BYA AU D:4AC  Dectease in interest we owe you . §,015.75
-! BER!IS,6. 4% 7,76 HA yt _Amount due by November 15, 2016 : ,389.
Menoaai. Lob he - “4 re ( GwMAT LAW bil TidiAky 010 YU ALE] S813
+ F AVERB = MIDE CR ENO CONTED LZ
What you need to do immediately If you agree with the changes we made
[: REMOVE ALe OPIN (Ow $ AAP * Pay the amount due of $787,389.80 by November 15, 2016 to avoid additional
ERA DVL AAT LINVEYANCF 6 penalty and interest charges
f ‘ < VE wan rz
LANLVABE REMATS 48 8 TERE I Ober ciel! CEEUEE A FA LT
, MVD VALID DEFER, NO “lth hg, CALE OF RA hy hd FAR THE ADTECT IVE
 yALIO C24!) poi et PROMS WEIL SFA TLC -HGIEt/
. scheocuaunsessoneee Ri PV = DANG UMA FRRTICS PLE Continued .on back...
VEER EWM DIM RPLCT/ YMA L LSUTINC(
GARY W ALEXANDER Notice CP22A
Fy) ee Wn saben ape Notice date October 31, 2016
Social Security numberqiaaag

  
 

With 4 VERB

ee ere | © Make your check or money order payable to the United States Treasury.
‘ ‘ aK: ® Write your Social Security number , the tax year (2015), and the form
number (1040) on your payment and any corres ndence, | r
n~ 5= es ALON > Liles, Wo TE, hh Fle.
Amount due by November 15, 2016 $787,389.80

“f uw
a

 
 
 

 

 

 

 

LAK w= No Cuoxy7ther:

INTERNAL REVENUE SERVICE a6 = L00:AL = OvneR ship Or pial Ti AA
FRESNO, CA 93888-0010 a1 2 FRET UM] et -Mb= Vi
agQ = PRET 7M . TENSE VOID Vb TIME ; KROF?. ED.
ge ENfadgg gh oateng Ae AM 9 = AAT RE 11M 2 TEASE, OID OF ALC F Atr
0 760K INET OM = AKIO LER

awe = MO tow TEA l7
535706891 FN ALEX 30 0 203512 670 000787385980 vies iWID Conc hA ty
4 c

EXHIG/T

 

 
Case 2:19-cv-01711-JLR Document1 Filed 10/23/19 Page 14 of 14

  

:C.-S.-S.-C.-P.-S.-G.-P. FLAG OF THIS VESSEL: RE 391 913 391 US

FOR THE CLAIMANT’S-KNOWLEDGE OF THS LIVE-LIFE IS WITH THIS CLAIM BY THIS
CLAIMANT.

 

~1 FOR THE KNOWLEDGE OF THESE FACTS ARE WITH THE CLAIM OF THIS LIVE-LIFE-
BIRTH ON THIS BIRTH-DATE OF THE ELEVENTH DAY-~THE JULY-MONTH-~ IN THE-
YEAR-~1959.

~2 FOR THESE WITNESS-KNOWLEDGE OF THIS LIVE-LIFE ARE WITH THESE CLAIMS OF
THIS LIVE-LIFE-BIRTH/NATIVITY IN THE CITY-~YAKIMA, STATE-~WASHINGTON, -
~COUNTRY UNITED-STATES-OF-AMERICA, WITH WITNESS, WITH THE PARENT-
PARTIES: MOTHER: :Beverly: Herke-Alexander., FATHER: :George: Alexander.-~BY THEIR
MARRIAGE-Joinder.

~3 FOR THE WITNESS-KNOWLEDGE OF THIS LIVE-LIFE-CLAIM ARE WITH THE CLAIM OF
THIS LIVE-LIFE-BIRTH WITH AN AUTHORIZATION OF THESE (3) THREE-WITNESS-
AUTOGRAPHS:: WITNESS-ONE, :WITNESS-TWO, :CLAIMANT.

~4 FOR THE WITNESS-KNOWLEDGE OF THESE FACTS ARE WITH THIS LIVE-LIFE-
BIRTH-CLAIM WITH THIS CORRECT-SENTENCE-STRUCTURE-COMMUNICATION-
PARSE-SYNTAX-GRAMMAR-PERFORMANCE OF THIS COMMUNICATIONS-CLAIM WITH
THIS LIVE-LIFE-PARTY.

PICTURE: FINGERPRINT(FP): SALIVA / HAIR

 

 
 
 
 
   

-Geprae —O wy A 7 levonder
WITNESST -AUTOGRAPH/:COPYCLAIM ~For the date: SEPt- Zt 2019 FP:

Bererky~ Aty Aloyerlh ay

-WITNESS/ :AUTOGRAPH/:COPYCLAIM ~For the date: SEPT-_Z_/_2019 FP:

: GAky -YWUwAwve : A LEO ~For the date: 2h. ZL 2019 FPZ

“AUTOGRAPH-CLAIMANT-LIFEBIRTH :AUTOGRAPH/:COPYCLAIM-is with the 3
in-cluding of this ~ THE ELEVENTH DAY-~THE JULY-MONTH-~ IN THE-YEAR-~1959.b3
ON-DEMAND: CLAIM.

 
